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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE E STER DISTRICT OF TEXAS FILED
                               SHERMAN DIVISION
                                                                        APR 1 4 2021

                                                                  CLERK, U.S. DISTRICT COURT
Judy D. Brow                                                      EASTERN DISTRICT OF TEXAS
770 Fair ay Dr. #1313
Coppell, Texas 75019
                                           CIVIL ACTION NO. 4:21-cv=284
    Plaintiff

       v.




Lorraine Dyer
Kelly Simpson
6400 Pinecrest Dr. #200
Plano, Texas, 75024

     Defen ants




                         AMENDED COMPLAINT

   Plaintiff brings this action against the Defendants for claims of
Harassment, Hindrance in the performance of her job, Violations of

Defendant s Company Policy and Procedures sections HR-410, 1.0,1.5,

1.11,1.13,1.22 and 1.28. Exposure to a Hostile work environment due to

Defendant’s actions, threat of termin tion, defamation of character and

Fraudulent Inducement of Employment. Plaintiff also claims violations
under Texas Penal Code 37.09
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B CKGROUND

   In September of 2020 Plaintiff responded to a job posting for a
Collections Specialist position in Plano Texas.
    he recruiter shortly thereafter contacted the Plaintiff and felt she
was a good fit for the position. An in person interview was held between
the Plaintiff and Kelly Simpson, one of the Defendants.
   After the interview Plaintiff received a call from the recruiter stating
they were offering the Plaintiff a position, but not at the $19 which was
discussed but an offer of $18 an hour. The recruiter stated that the
Defendant was not able to pay the $19 due to Budget issues which
Plaintiff felt if they had Budget issues they never should have told the
recruiter they would pay $19 an hour.
   On the 5th of October Plaintiff started her job as a Collections
Specialist with the Defendant, she learned their computer system and
within the first two weeks was collecting money and negotiating
settlements which she received praise from Defendant Kelly Simpson
and other employees around her that heard her on the phone with her
negotiations and collection tactics.

   Mrs. Si pson also stated as well on how Plaintiff handled her
accounts and stated in the presence of Ms. Manuela Wilson, you re the

collector compared to Manuela.
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  In November of 2020 the Defendant made a business decision to fix
a computer glitch, which she later learned was a decision by the
company to switch Medicaid patients to Private pay without their written
consent or knowledge which is a requirement under the guidelines for
Medicaid Providers. The Plaintiff feels this was more or less a deceptive
business practice in which they required the Plaintiff to participate in
and the only one making these calls. Because the statements were not

sent out 30 days after service but some 365 days later made Patients
and their family extremely angiy and vented their anger to the Plaintiff
which caused her emotional and physical distress.
   On Christmas Eve, 2020 Plaintiff was required to call these past due
patient and it was at that time she learned her phone display was
coming up as a Spam call, subjecting her to rude and degrading
remarks, something which was not in her job description.
  Around the 12th of January, Plaintiff sent a text to Kelly Simpson
informing her because of the stress these calls were having on her she
was going to take the day off and try to relax.
   On the 14th of Janu ry, Plaintiff had a meeting with Defendants,
Lorraine Dyer and Kelly Simpson. Plaintiff put two concerns to them.
1. Plaintiff brought the issue of her salary to the Defendants, she told
them that Libby, the recruiter had informed her the rate of pay was $19
an hour but hen the offer came in they told her because of the budget
they could only offer $18, in which Lorraine came back stating in an
unfriendly context, “You accepted it .
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  Plaintiff became aware of the difference of pay between her and
Manuela Wilson shortly before this meeting. Ms. Wilson responded to
the same posting with the same rate of pay, but when they offered her
the $19 she replied she would not take the position unless she was paid
$20 an hour. Plaintiff and Ms. Wilson have the same responsibilities,
call the same type of accounts but in comparison Plaintiff had more
accounts that fell under the computer glitch and was subjected to
more abusive and negative remarks made by patients or family
members. Plaintiff later learned that is was against State Law and
probably Federal Law in calling Medicaid patients seeking money which
the Defendant should have known and never informed the Plaintiff
therefore putting the Plaintiff in a situation of violating Laws.
  Also at this meeting Plaintiff made them aware of the Spam display
coming up on her phone when making out bound calls, Plaintiff felt
because of this display patients were not answering their phone or when
they did they accused the Plaintiff of be a scammer” out to screw them
of money. Defendant Dyer stated she would have IT look into this.
  Plaintiff later learned that Mrs. Dyer never followed up on either of
these issues Plaintiff had brought to her attention and therefore
violating sections 1.28, 1.13 and 1.22 under the Company s rules and

procedures policy and exposing her to a hostile work environment.
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   At this meeting as well Mrs. Dyer told the Plaintiff that she wanted
her to keep her voice down....Plaintiff was shocked....being a good

collector is having a strong voice presence and Plaintiff has been a
successful collector for more than 22 years and no previous employers

had ever told her to lower her voice as well as several of Plaintiffs
previous employers had called her a “Sweetie Collector because of her
approach in retrieving money.

    Plaintiff feels this was not only an attack on her personality but
also a hindrance in performing her job properly.
     It should be noted as well that there are several other employees in
the company that have a loud speaking voice and the way the office is
set up they can be considered as well as being loud and Mrs. Dyer never
made any such comments to them.

   It should be stated here as well that the last quarter of 2020 Plaintiff
collected more than $82,000 which she believes was more because she
found several accounts Defendant had failed to calculate in and was
told no other collector that had worked there brought that much in.
   Plaintiff was on the phone more than 80% of the day dealing with
irate patients or their family members in trying to collect money. There
were issues of billing, medications not covered by insurance and other

causes for concern of billing errors which the Plaintiff had to resolve in a
professional manner.

    he week of February 15th, one of the worst storms in Texas history

came upon many employers when their employees were forced to work

from home, Plaintiff was one of those employees. Her work environment

usually consisted of two monitors and easy access to several

applications in performing her job.
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  Plaintiff was provided only one monitor in trying to access 6 or more
applications with the system constantly going into sleep mode every
minute or so, which when at her work station did happen but not as
quickly as what the Plaintiff was experiencing at home.
   Many other employees did not have electricity and some without
water which was the case of Defendant Simpson.

   Plaintiff did have electricity and water and even though her work
productivity was slow due to having pop ups freezing her ability to
access the system she was struggling on.

  At around 4:00 on the afternoon of the IS111 of rou hly half an hour
before Plaintiff was scheduled to punch out she received the following
email from Mrs. Simpson:

     Can you both send me a detailed report with all of the
accounts you orked today? I know inbound calls have been an
issue so I want to make sure we have made u for it on outbound

calls. Thank You.”

    Plaintiff replied back:
     "If you look under my spreadsheet you can see the accounts I
touched because it will h ve the dates ”
    Reply from Defendant:
      "Yes, I am unable to get on the "S” drive. Please send to

em il.”

      "All employee who work from home have to create a list of
thei wo k d y. It does not have nything to do with me
questionin you       o k. Please c eate the list nd send it to e, if
you need the next 30 inutes to do o th t is fine”
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     NOTE: This was the first time Plaintiff was informed f this
policy as well as the fact Plaintiff was not an employee that worked
from her home, she worked in the office in Plano, Texas on an 8-4:30

regular schedule.

    Plaintiff:
      I wish you had told me that this morning instead of at the last
minute.

    Defendant:
     <eUnfortunatel I have not h d the means to do much toda
since I have no power stilt Thanks for being so cooperative.93
   Plaintiff took this as a sarcastic remark from the Defendant and in
doing so should be a violation under Section 1.28 of the Company s
Policies and Procedures guidelines.
     he next day February 16th at 9:30 in the morning Mrs. Simpson
sent the following email to the Plaintiff:
     Please remember to keep track of the accounts ou o ked
toda . Ple se send me the det ils of the ccounts ou wo ked
befo e the end of he day
    Plaintiff eplied:
     "What o ou e n when ou s                     e ils
    Defendant’s response:

      "I nee to know wh t exactly our wo k ay looked like. The
 ccount you researched, c lle an spoke ith n one.”

    Plaintiffs reply to Mrs. Simpson:

      "It s no my fault ou can’ access he "S” drive and bec use
of th t I houl n’t have to o " ouble” work”
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 Plaintiff continued to have issues with her computer, the pop-ups
were orse which kept the Plaintiff from accessing the applications on
the server to perform her duties as a collector and Plaintiff would send
Mrs. Simpson emails informing her of these issues, Kelly replied back
stating Manuela didn t have these issues, saying it was my network and
other statements referring to the fact th t it was my f ult the system
wasn t working properly.

  Dan Setter, IT Manger was able to log into Plaintiffs computer and
found it was not Plaintiffs network and sent an email to Mrs. Simpson
stating the following:
Kelly,
 I ve con ected to Jud ’s home laptop to run diagnostics and ssess
the situation.
Her network speed is blazing at 700 do nload and 250 upload, it is
not network peed. he CPU and memory on her laptop look great,
at a 30% threshold. I would worry if it was at 75% but nowhe e
near that so it is not a proces or lack of ho sepowe on her laptop.
 Judy is questioning some of the beha ior of Excel icons and a new
word doc and hy ce tain things automatically launch and popups
that hove o e them. The e is not much I c n do from an IT
  ers ective on th t. I sug ested th t the nuances Judy is h ing
  ith her icon and word docs that she evie with you in pe on
on Monday. In the meantime I sufiaested that Jadu soldiers on. It
has b en     difficult week nd all of us h v t make d . It has
not been per fect.

   Plaintiff feels this too was hindering her abilit to perform her job.
Defendant did not have power and could not access the computer

system to verify any information, notes we would put in the system,
comments as to what we had done, as she would usually do when

reviewing our accounts worked.
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   The winter storm we endured created a lot of stress for many

residents of the state of exas and many employees were faced with

issues they don t usually face and Mrs. Simpson was not sympathetic to
those issues and made demands upon the Plaintiff that were out of the
usual in doing our job especially with the computer issues she was
having.

   On March the 2nd again Plaintiff was asked to join Defendants Dyer
and Simpson in a Verbal Counseling meeting.
   She was provided a document which stated at the top Record of
Verbal Counseling”. The document was siting section 1:28 of the Rules
and Discipline Policy:
       Rude or disrespectful conduct towards a customer, atient,

fa ily member, employee or supervisor.

   The reason for this was because of the email Plaintiff had sent saying
“It s not my fault you can’t access the “S drive and because of
that I shouldn’t have to do “double work .
   Mrs. Dyer stated that because Mrs. Simpson didn’t have power or

water Plaintiff needed to make concessions for that and that if Plaintiff
continued to disrespect her it would be grounds for termination as well
as the statement from her “When I tell you to do something you
bette do it or I’ll fi e your ss.
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  What Defendants failed to mention in this Verbal Counseling the
statement by Mrs. Simpson the day before
   Unfortunately I have n t had the means to do much today since
I have no power still. Thanks for being so cooperative, which
Plaintiff feels was not only sarcastic but also a violation of the same rule
in which a trail of emails which Pl intiff had requested be put in her
personnel file would support.
   Also upon further review of the emails between Mrs. Simpson and
the Plaintiff, the statement that emailing me the records you were
keepin    ould only take an additional cou le of minutes            but upon
a complete review of the emails Defendant states “take the next 30
minutes if you need to’
“The HR received your complaint today and would like to speak to
you since this is the first we are hearing about the issues you have
raised
   Because Plaintiff was asked to sign this document and was given a
verbal threat of termination, HR should have either been in this meeting
or at least investigate the reason for the "Verbal Counseling especially
since this was during a time employees of the company were out of their
element and had to endure difficulties that they don t usually occur but
it seems Defendant Dyer took it upon herself to override the policy and
do what she wanted.

   Upon Plaintiffs review of the Forms of Discipline” under the Human
Resource Management Policies and Procedures Manual (Exhibit A) it
states under Forms of Discipline.
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 Forms of Discipline that may be used are:
        Verbal Counseling
        Written Correction Actions
        Unpaid Suspension
        Involuntary Termination
    he rule continues to state:

        Writte discipli ary actions will be reviewed by HR to
ensure the issue has been objecti ely investigated and ro erly
documented before the action is taken. AlixaRX may exercise, in
its sole and absolute disc etion, any form of discipline deemed
appropriate and is not intended to imply that an employee may be
terminated only for cause nor after “at-will employment of the
employee
    The winter storm that occurred that week put a strain on everyone

but the Defendant didn t ta e that into consideration but instead lashed
out at the Plaintiff which is one of the reasons she is filing this
complaint and to detour the Defendant from continuing this type of
abusive behavior
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                              COUNT ONE
               Violatio s of Company Policies a d Rules
    Defendant violated several Policies under their Company guidelines
(Exhibit A) which she has circled mainly sections
1.1 Violations of Com any policy, procedure, Code of Conduct and
Business areas or other instances of improper conduct not

specifically listed.
1.5 Engaging in activity or m king false or offensi e statements
which are meant to intentionally harm the reputation of the
company, employees, officers, its roducts or services, customers,

or service providers.

  Under the Medicaid Provider section, ACCEPTANCE AND
AGREEMENT it reads as follows:
   A provider may charge a Medicaid beneficiary, including a
Medicaid or FHPlus beneficiary enrolled in a mana ed care plan,
only when both parties have agreed prior to the rendering of the
service that the beneficiary is being seen as a private pay patient.
   This agreement must be mutual and voluntary. It is suggested
that p oviders keep the beneficiary s signed consent to be seen a a
private pay patient on file.
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  Plaintiff submits documents under Exhibit B supporting violations of
not only company policy but as well uidelines under Medicaid, the first
is a letter from Polk County Social Services regarding a patient that had
been billed as a Private Pay patient and had been on Medicaid for
several years and the letter also states that State Medicaid had never
received any claims from either the Defendant or the facility where he
was staying and should only be billed for co-pays. The invoice attached
is showing the patient was charged full cost for the two dru s he
received as well showing a balance owning as of the 31st of January of
over $1200 and Medicaid guidelines. his is the same individual that
Plaintiff provided contact information to Cydney Wachi from HR and
le rned that when this letter was sent to her neither HR or Amanda
Stewa t in Compliance ever reached out to her. This is one of the emails

that Plaintiff requested in her Legal Hold request, which more than
likely is gone.
   The other documents are emails from the HUB on calls they received
from Medicaid patients wVoicemails are regardi g the A/R group code
change from Medicaid to Private ay that were now being billed as
private pay and an email from a family member wanting to know why
after so long her father was now receiving a bill and was on Medicaid.
   These patients never signed any consent form giving the Defendant
permission to bill him as private pay.
    Plaintiff also learned when she called family members of these
patients was told the cost of their medications was included in their stay
at the facility and billed Medicaid which is why Plaintiff has requested
contracts the Defendants has with these facilities.
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    Plaintiff made more than 300 calls to these patients which were
emailed to her on a Spreadsheet from Defendant Simpson which she is
requesting now through the Court.
    Plaintiff feels this falls under violations of Rule 1.28 and 1.5
 Rule 1.28 Rude or disrespectful conduct towards a customer, patient,

family member, employee or supervisor (Exhibit C) emails from
Defendant Simpson during the week of February 15th as well as her
actions in turning off her phone from receiving calls from the toll free
billing line and sending her accounts to work that she knew would be a
violation of laws.



                             COUNT WO
              Fraudulent Inducement of Employment
   Plaintiff feels the Defendant committed this act against her for the
following reasons.

   Plaintiff responded to a posting in which she was told paid $19.00 an
hour but was only offered $18.00 an hour due to the statement the
Defendant had budget issues but later learned that the other person
that applied for the same position was offered $19.00 an hour sa e as
the posting and stated she would not take the job unless she got $20.00
in which Plaintiff learned roughly two months after her employment.
She also learned that the company had a very good year and employees
were given a bonus which one would think does not happen if you are
having budget issues.
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  Plaintiff puts this before the Court, if indeed this was the issue why
didn t Lorraine Dyer do as she stated to the Plaintiff in January when it
was brought up in their meeting that she would have Kathy in HR look
into it and again when it was brought up in the Verbal Counseling
Meeting on the 2nd of March again telling the Plaintiff she had Kathy
look into and Plaintiff finding out no such call was ever made to Libby,
the recruiter that had spoken to her.
  Plaintiff feels this is not only an act of fraud but a violation of Rule
1.28 in being disrespectful in lying to her pertaining to concerns of her
salary.

                               COUNT THREE
           Hostile work e vironment and Hindr nce of her Job
    When the Defendant decided to send out statements to Medicaid
patients now being billed as Private Pay from their decision to change
them in their system, such patients had not received in over 20 months
it exposed the Plaintiff to a Hostile Work Environment in many aspects
and exposing her to violations of State and Federal Law. The patients
she called or their family members were degrading and insulting in their
tone to her and telling how dare she call them. Stating they didn’t have
any money and in one instance a patient told Defendant Simpson how
insensitive the Plaintiff was and unfeeling. Mrs. Simpson apologized to
the patient and told her she would speak to the Plaintiff but when t is
was brought up at the meeting in Janu ry, Defendant Dyer told the
Plaintiff “ hat’s your job .
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   Plaintiff feels it was not her job because it was never told to her that
she would have to call patients that hadn t received any type of
statement or invoice in over 2 years or that she would be violating laws
under Federal and State in calling them and Plaintiff feels this is also a
violation of rules 1.5, 1.28 and 1.13.

   Plaintiff has also learned that you cannot call a Medicaid patient for
more than what the co-pays are and some of these statements have

balances over $2500 as Exhibit B supports and fines for calling such
patients in seeking money for more than the co-pays run from $20k to
$50K
   Also when the Plaintiff found out that her phone displayed Spam,
High Risk Defendant did not to resolve this and lied to the Plaintiff that
she was going to send an email to the Manager of the IT Department but
roughly 2 months later it was the Plaintiff that approached Mr. Crowder
and was informed he never received any type of communication from

Lorraine and when Mrs. Simpson heard this conversation she said to

the Plaintiff in a very negative tone, “Did you go to Mike yourself”.
    Plaintiff became aware of the Defendant s toll free billing line was
not ringing to her on the 25th of March which she normally gets at least
4-5 calls a day. When an email was sent to Defendant Simpson on the

31st of March she informed her of such... .not more than an hour later

the Billing line was turned back on.
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  Defendant sent the Plaintiff a spreadsheet telling her that this was a
7 day summary of the billing calls but only had two dates on the
spreadsheet, March 24th (one day after they received ser ice) when the
line was turned off from ringing to her desk and the last day the 31st of
March when the phone was turned by on, shortly after she sent her
email. Exhibit D
   Exhibit D also has a printout of a payment Defendant Simpson
received on the 26lh of March from the billing line for one of Plaintiff s
account which Plaintiff heard her telling the HUB to transfer the call to
her.

   This is the reason as well to why the Plaintiff is requesting through
discovery a full M EL 7 day activity detail report.


                              COUNT FOUR
                 Violations of Texas Penal Code 37.09


       On the 29th of March the Plaintiff hand delivered a Le al Hold Notice
to the Defendant (Exhibit E) which would support her complaint. On the
6th of April roughly a week later Plaintiff received an email from the
Manager of Defendant’s I department (Exhibit F) that a situation had
occurred on the previous Saturday which deleted documents under the
Legal Hold Notice and even after this notice was sent out other emails
from the Plaintiff to not only attorneys for the Defendant but also to
Le al have now disappeared.

   Plaintiff made a call to Nexus Tek and was told they had no record of
any disruption in service as well as the statement A computer only does
what you tell it to do.
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  Shortly before this email was sent out from IT Plaintiff received an
email from HR telling her that her attendance in a compliance meeting
was not optional . The Defendant wanted to discuss the issue of
Medicaid violations which in her reply she stated on page 14 of her
complaint she made reference to this and was now a legal issue.

    Plaintiff forwarded that email to her personal computer as well as
Legal and that email as well as others are now gone.

    It should be noted here that Plaintiff had copied the attorneys for
the Defendants regarding refusing to speak to anyone in Defendant s
employ regarding her lawsuit which as stated above, wanted to talk to
her about calling Medicaid patients.
    In the trial of emails (Exhibit G) from the Plaintiff to the Defendant
in responding that she was not going to have any conference with them
because the issue was in her complaint.

   Email from their attorneys state:
    The e-mail you forwarded below appears to be a workplace issue
not one involving your lawsuit. In the meantime, any other

workplace investi ations or workplace complaints are outside of
our purview and instead will be handled acco ding to your
em loyer s policies and procedures, as you are a current employee

of Alixa-RX
    The complaint involved violations of their policies and procedures
which was in Plaintiffs civil action. Plaintiff felt that the Defendants
were pushing her for information because they already knew they
violated the law.
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  The Question Plaintiff puts before the Court, if a system disruption
had occurred on Saturday the 2nd why did it take I over three days to
send a notice out to employees of the Defendant and as to why it was
sent shortly after the Plaintiff reused to co-operate in a meaning to
discuss Medicaid Billing, which again they already knew.
   It should be noted here that this is not the first time the Defendant
has been accused of Fraud in a legal action, case 4:15-cv-000766 where

a jury in 2018 awarded dama es against the Defendant for 24 million
dollars for violating several Non Disclosure Agreements.

  Defendant has failed to sign the Legal Hold Notice acknowledging
their compliance as well as failing to file an answer to Plaintiffs
complaint which is why she seeks an Order for Discovery.
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                                DAMAGES


   For these reasons as stated Plai tiff seeks punitive damages in the
amount of $350,000 for all Counts listed above from Defendants actions
as well as subjecting her to violations of State and Federal Law when
calling Medicaid patients requesting money.
  Plaintiff seeks court costs and any other costs in which she would
have to pay to support her action in Court.

   Plaintiff is also attaching a Motion with a Proposed Order for
Discovery for the Defendant to produce documents she attached to her
Legal Hold Notice which will support her complaint as well as violations
under Federal Law which was the reason Defendants moved this case

 nd as such prevent any future destruction of documents.


Respectfully Submitted




770 Fairway Dr. #1313
Coppell, TX 75019
682-701-9471
jd.brown2017@yahoo.com


Jury Trial Demanded


CC: kristin.hig ins@ogletree.com
    j arnie. ashton@ogletree. com
